                                                         Motion GRANTED. The
                                                         February 11, 2013 sentencing
                                                         is CONTINUED to MARCH 8,
                       IN THE UNITED STATES DISTRICT COURT 2013 at 10:00 a.m.
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NORTHERN DIVISION

UNITED STATES OF AMERICA,                     :
                                              :
         Plaintiff,                           :
                                              :
v.                                                :    CASE NO. 2:12-00006
                                              :        JUDGE TRAUGER
                                              :
LINDA KAY POWELL and                          :
WILLIAM STEVE HOWELL,                         :
     Defendants.                              :

                               JOINT MOTION TO CONTINUE

         Plaintiff and Defendant Linda Kay Powell, through undersigned counsel, respectfully

request that Defendant Powell’s sentencing hearing currently scheduled for February 11, 2013,

be continued and for cause would state that more time is needed to complete the Pre Sentence

Report and that a continuance will best serve the ends of justice.

                                                       Respectfully submitted,

U.S. Attorney’s Office                                 GALLIGAN & NEWMAN
110 9th Avenue South, Suite A-961                      309 West Main St.
Nashville, TN 37203                                    McMinnville, TN 37110
(615) 736-5151                                         (931) 473-8405

/s/ Sandra G. Moses                                    /s/ John P. Partin
Sandra G. Moses                                        John P. Partin, #020921
Assistant U.S. Attorney General                        Attorney for Defendant




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